Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 1 of 8 PageID 53
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 2 of 8 PageID 54
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 3 of 8 PageID 55
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 4 of 8 PageID 56
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 5 of 8 PageID 57
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 6 of 8 PageID 58
Case 3:19-cr-00318-K Document 13 Filed 07/01/19   Page 7 of 8 PageID 59
    Case 3:19-cr-00318-K Document 13 Filed 07/01/19                       Page 8 of 8 PageID 60




       I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.



                                                            May 21, 2019

SANJAY NANDA                                                Date
Defendant



        I am the defendant's counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client's decision to
enter into this Plea Agreement is an informed and voluntary one.




Attorney for Defendant




Plea Agreement (S. Nanda)- p. 8
Contents of this page agreed to by the defendant:. _ _ _(defendant's initials)
